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        United States Court of Appeals
                FOR THE DISTRICT OF COLUMBIA CIRCUIT



                         Decided March 26, 2021

                               No. 21-3010

                       UNITED STATES OF AMERICA,
                               APPELLEE

                                     v.

                        ERIC GAVELEK MUNCHEL,
                              APPELLANT



                        Consolidated with 21-3011


                  On Appeal of Pretrial Detention Orders
                        (No. 1:21-cr-00118-1)
                        (No. 1:21-cr-00118-2)


            A. J. Kramer, Federal Public Defender, and Sandra G.
       Roland, Assistant Federal Public Defender, were on appellant
       Eric Munchel=s Memorandum of Law and Fact.

           Gregory S. Smith, appointed by the court, was on appellant
       Lisa Eisenhart=s Memorandum of Law and Fact.

           Elizabeth Trosman and Elizabeth H. Danello, Assistant
       U.S. Attorneys, were on appellee=s Memorandum of Law and
       Fact.
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           Before: ROGERS, WILKINS and KATSAS, Circuit Judges.

           Opinion for the Court filed by Circuit Judge WILKINS.

           Opinion concurring in part and dissenting in part filed by
       Circuit Judge KATSAS.

            WILKINS, Circuit Judge: We consider an appeal of a
       pretrial detention order issued after a Magistrate Judge had
       previously ordered the two appellants released pursuant to a
       lengthy set of stringent conditions. For the reasons stated
       below, we remand for the District Court to consider anew the
       government’s motion for detention.

                                      I.

            The facts, as found by the District Court, and as observed
       in a 50-minute video of much of the incident at the heart of the
       case, are as follows.

            Eric Munchel and his mother, Lisa Eisenhart, participated
       in the January 6, 2021 incident at the Capitol. Munchel is a
       thirty-year-old resident of Nashville, Tennessee.          He
       previously worked as a waiter and has twice been convicted for
       misdemeanor possession of marijuana in Georgia state courts.
       See United States v. Munchel, No. 1:21-CR-118-RCL, 2021
       WL 620236, at *1 (D.D.C. Feb. 17, 2021). Eisenhart is a fifty-
       seven-year-old resident of Woodstock, Georgia. She has been
       employed as a nurse for approximately thirty years and has no
       prior criminal history. Id.; Eisenhart Mem. at 13.

           On January 6, Eisenhart and Munchel attended President
       Trump’s “Stop the Steal” rally to protest the election results.
       Both wore tactical vests and Munchel had a taser, holstered on
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       his hip. Munchel also wore his iPhone, mounted on his tactical
       vest, and used it to take a video of some of the day’s events.
       Following the rally, Eisenhart and Munchel marched towards
       the Capitol. See Munchel, 2021 WL 620236, at *2–3. As they
       approached the Capitol, they milled around outside and talked
       with others. They met members of the Oath Keepers militia and
       Munchel bumped fists with one of them. Id. at *2; Video at
       11:56–12:05.

            At some point while Munchel and Eisenhart were standing
       around, someone yelled out “they broke the line up there” and
       people began saying “let’s go in.” Eisenhart told Munchel they
       should go in, but she added, “[w]e’re going straight to federal
       prison if we go in there with weapons.” Video at 12:28–12:40.
       Munchel responded that he would not go into the Capitol, and
       Eisenhart suggested that they put “em” in their backpacks. Id.
       Munchel and Eisenhart then moved across the crowd to an area
       where a backpack was stowed and Munchel stashed a fanny
       pack in the backpack. See Munchel, 2021 WL 620236, at *2;
       Video at 16:00–16:25. Munchel contends that the only weapon
       in the fanny pack was a pocketknife; the government suggests
       that other weapons could have been inside, perhaps even a
       firearm. See Tr. of Dist. Ct. Detention Hr’g at 10. Munchel
       kept his taser holstered on his hip. See Munchel, 2021 WL
       620236, at *2.

            Subsequently, Eisenhart encouraged others to enter the
       Capitol, stating the tear gas “isn’t bad” and repeatedly stating,
       “let’s go in.” Video at 16:28–17:45. Munchel and Eisenhart
       pushed their way through the crowd to continue towards the
       Capitol. Munchel followed Eisenhart, often holding on to a
       strap on her back. E.g., id. at 17:45–23:00. En route, Eisenhart
       encouraged a man who claimed to have “punched two of them
       in the face,” telling him, “while everyone else is on their couch,
       you guys are training, and getting ready for it.” Id. at 23:56–
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       24:12. Munchel told members of the crowd that “we’re not
       playing f__ing nice no god damn more,” that he is “f__ing
       ready to f__ sh__ up,” and “I guess they thought we were
       playing.” Id. at 25:18, 26:58–27:01, 36:53–36:56; Munchel
       Mem. at 11. Additionally, when Eisenhart heard that Congress
       was “shut down” by tear gas she exclaimed that “they got tear-
       gassed, motherf__ers” and proclaimed it her “best day to know
       they got tear-gassed.” Video at 30:08–30:29. Directly in front
       of the Capitol and near an entrance, Munchel stated, this is
       “probably the last time I’ll be able to enter the building with
       armor and . . . f__ing weapons.” Id. at 36:29–36:35.

            Munchel and Eisenhart entered the Capitol through an
       open door and stayed inside for approximately twelve minutes.
       Id. at 38:30–38:50 (entry); Munchel Mem. at 11. Police
       officers were standing to the right of the door, not blocking
       their entry. Munchel Mem. at 11 (citing to Video). While
       walking through the Capitol, Munchel told members of the
       mob “don’t break sh_,” “no vandalizing sh__. We ain’t no god
       damn Antifa, motherf__ers,” and “you break sh__, I break
       you.” Video at 42:45, 43:20–43:43, 44:13–44:15.

            Additionally, while inside, Munchel and Eisenhart spotted
       plastic handcuffs, known as “zip ties.” Munchel, 2021 WL
       620236, at *2; Video at 43:43. Upon seeing the zip ties,
       Munchel shouted “Zip ties! I need to get me some of them
       motherf__ers.” Video at 43:43–43:48. Munchel took several
       zip ties and Eisenhart took one. See Munchel Mem. at 12.
       Munchel and Eisenhart eventually made their way to the Senate
       gallery, both still carrying the zip ties, and Munchel still
       carrying his taser. Munchel, 2021 WL 620236, at *2; Gov’t
       Mem. at 12 (pictures of Munchel in Senate gallery with zip
       ties). Inside the gallery, Eisenhart chanted “Treason!
       Treason!” and Munchel looked down at the dais and said, “I
       want that f__ing gavel,” referring to the Senate’s artifact.
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       Video at 45:14–45:17, 47:21–47:23. Munchel made no effort
       to steal the gavel. Id. at 47:21–47:23; Munchel, 2021 WL
       620236, at *2.

            After leaving the gallery, Eisenhart told Munchel not to
       carry the zip ties, stating that they “need[ed] to get them out of
       [their] hands.” Video at 48:43–48:48. Later, Munchel took
       some home with him to Tennessee. See Munchel, 2021 WL
       620236, at *2. Eisenhart has claimed that she took the zip ties
       to keep them away from “bad actors.” Id.; Eisenhart Mem. at
       3.

           Eventually, Munchel and Eisenhart left the Capitol. As
       they were exiting, Munchel said to nearby police officers,
       “Sorry, guys, I still love you.” Video at 49:27–49:29; Munchel
       Mem. at 13.

            On the evening of January 6, a Metropolitan Police
       Department officer stopped Munchel and seized his taser. See
       Munchel, 2021 WL 620236, at *3.1 The next day, as they
       packed their car to go home, both Eisenhart and Munchel spoke
       to the media. Eisenhart stated:

               This country was founded on revolution. If
               they’re going to take every legitimate means
               from us, and we can’t even express ourselves on
               the internet, we won’t even be able to speak
               freely, what is America for? . . . I’d rather die
               as a 57-year-old woman than live under



       1 On January 5, a police officer had observed Munchel’s taser and

       allowed him to keep it, ostensibly because it was legal to possess on
       the street in the District of Columbia. Munchel, 2021 WL 620236,
       at *1.
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              oppression. I’d rather die and would rather
              fight.

       Laura Pullman, Trump’s Militias Say They Are Armed and
       Ready to Defend Their Freedoms, THE TIMES (of London) (Jan.
       10, 2021), https://www.thetimes.co.uk/article/trumps-militias-
       say-they-are-armed-and-ready-to-defend-their-freedoms-
       8ht5m0j70https://www.thetimes.co.uk/article/trumps-militias-
       say-they-are-armed-and-ready-to-defend-their-freedoms-
       8ht5m0j70 (attached to the Gov’t Suppl. Mem. at 26).
       Munchel told the newspaper:

              We wanted to show that we’re willing to rise up,
              band together and fight if necessary. Same as
              our forefathers, who established this country in
              1776. . . . It was a kind of flexing of muscles. . . .
              The intentions of going in were not to fight the
              police. The point of getting inside the building
              is to show them that we can, and we will.

       Id.

            Later, Munchel and Eisenhart returned to Tennessee, and
       Eisenhart continued on to her home in Georgia. The FBI
       posted bulletins on the internet and in the media with photos of
       Munchel and Eisenhart from January 6, asking for the public’s
       help in identifying them. On the morning of January 10, FBI
       agents executed a search warrant at Munchel’s apartment. The
       agents found the tactical vest Munchel wore at the Capitol, zip
       ties, firearms, and a large quantity of loaded magazines.
       Munchel was licensed to possess those weapons. See Munchel,
       2021 WL 620236, at *3. Soon after learning about the search,
       Munchel turned himself in. Id. at *4; Munchel Mem. at 15.
       Munchel also made arrangements for his attorney to give his
       iPhone to the FBI. Munchel Mem. at 15. Once Eisenhart
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       learned she was the target of a federal investigation, she spoke
       to a local FBI agent every day to determine whether there was
       a warrant for her arrest, and when the warrant issued, she self-
       surrendered. See Munchel, 2021 WL 620236, at *4, *7;
       Eisenhart Mem. at 3.

           Munchel and Eisenhart were charged in a complaint with
       unlawful entry, violent entry, civil disorder, and conspiracy.
       See Complaint, United States v. Munchel, No. 1:21-CR-118-
       RCL, 2021 WL 620236, ECF No. 1 (D.D.C. Feb. 17, 2021).
       Munchel and Eisenhart had pretrial detention hearings before
       Magistrate Judge Jeffrey Frensley in the Middle District of
       Tennessee. Magistrate Judge Frensley concluded that neither
       Munchel nor Eisenhart were flight risks nor posed a danger to
       the community and issued release orders for both appellants
       with various conditions, including home detention, GPS
       monitoring, refraining from possessing firearms or dangerous
       weapons, and supervision by Pretrial Services. See Jan. 22,
       2021 Transcript (“Munchel Tr.”) at 181, 186–89 (included in
       Munchel Suppl.); Jan. 25, 2021 Transcript (“Eisenhart Tr.”) at
       163, 164–66 (attached to Eisenhart Mem.).

            Magistrate Judge Frensley briefly stayed both of his
       release orders, id. at 171; Munchel Tr. at 198–99, and the
       government promptly appealed both orders to the United States
       District Court for the District of Columbia. Chief Judge Beryl
       A. Howell stayed both release orders pending appeal, see Stay
       Orders, ECF Nos. 4, 7, and ordered both appellants to be
       transported to D.C., see Transport Orders, ECF Nos. 5, 9.
       COVID-19-related complications slowed the appellants’
       transport to D.C. See Status Report, ECF No. 18. While their
       transports were pending, Eisenhart moved to rescind the stay
       or to conduct an immediate review of her detention, which
       Munchel joined. See ECF Nos. 14, 15, 27. Additionally, the
       government filed motions seeking review of Judge Frensley’s
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       release orders. See ECF Nos. 3, 6. In the meantime, Munchel
       and Eisenhart were detained.2

            Subsequently, on February 12, a grand jury sitting in the
       District of Columbia returned an indictment charging Munchel
       and Eisenhart with obstruction of an official proceeding;
       Munchel with unlawful entry while armed with a dangerous
       weapon, and violent entry while armed with a dangerous
       weapon; and Eisenhart with aiding and abetting unlawful entry
       while armed with a dangerous weapon, and aiding and abetting
       violent entry while armed with a dangerous weapon. See
       Indictment, ECF No. 21; Munchel, 2021 WL 620236, at *7.
       On February 17, the District Court arraigned Munchel and
       Eisenhart on the indictment and the government made an oral
       motion for pretrial detention. See id. at *4. During the
       detention hearing in the District Court, the government
       proceeded by proffer rather than calling live witnesses. In
       addition to what had been presented to Magistrate Judge
       Frensley, the government introduced the 50-minute videotape
       into evidence and proffered that after January 6, Munchel was
       in contact with a suspected member of the Proud Boys and was

       2  Even though Magistrate Judge Frensley had found that the
       government had not met its burden of proving dangerousness by
       clear and convincing evidence, the government sought and obtained
       an ex parte stay of that release order that resulted in the appellants
       being detained for three weeks without any court finding of
       dangerousness, notwithstanding the statute’s mandate that review
       occur “promptly,” 18 U.S.C. § 3145(a), and the statutory and
       constitutional requirement of a dangerousness finding, see infra.
       While COVID-19 issues caused a delay in the appellants’ transport
       to the District of Columbia, the record does not indicate why a D.C.
       District Judge could not have heard this matter prior to February 17,
       even if the appellants were in another location. Ultimately, this
       issue, while troubling, is not presented as a ground for reversal in this
       appeal.
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       told that he was too “hot” after he expressed interest in joining
       the group. Id. at *6; Tr. of Dist. Ct. Detention Hr’g at 51.

            Following the detention hearing, the District Court ordered
       both Munchel and Eisenhart to be detained pending trial,
       denied as moot Munchel and Eisenhart’s motions seeking to
       rescind the stay of Judge Frensley’s orders, and denied as moot
       the government’s motion seeking review of Judge Frensley’s
       orders. See Detention Orders, ECF Nos. 25, 26; see also ECF
       No. 27. The District Court concluded that both Munchel and
       Eisenhart were eligible for detention because they were
       charged with felonies while carrying a dangerous weapon,
       explaining that the indictment alleges that Munchel carried a
       dangerous weapon (the taser) and that Eisenhart aided and
       abetted Munchel and therefore she was liable as if she were the
       principal. See Munchel, 2021 WL 620236, at *5, *7.

            Applying de novo review, the District Court determined
       that appellants were not flight risks but that detention was
       appropriate on the basis of dangerousness. Id. at *5–8. The
       District Court concluded that appellants’ history and
       characteristics weighed against detention but that the nature
       and circumstances of the charged offenses, the weight of the
       evidence, and the potential danger appellants pose to the
       community weighed in favor of detention. Id. The District
       Court further determined that neither appellant was likely to be
       deterred by release conditions. Id. at *7, *8.

            Munchel and Eisenhart timely appealed. They contend
       that the District Court erred in not deferring to Magistrate
       Judge Frensley’s factual findings as to their dangerousness.
       They also contend that the District Court inappropriately relied
       on a finding that they were unlikely to abide by release
       conditions to detain them, because that factor is applicable only
       to revocation of pretrial release. They also argue that the
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       charged offenses do not authorize detention, claiming that
       felonies involving possession of a weapon, rather than use, do
       not qualify for detention and, relatedly, that Munchel’s taser is
       not a “dangerous weapon” within the meaning of the statute.
       Munchel and Eisenhart also object that several other
       defendants who participated in the insurrection have been
       released before trial, arguing that the conduct of those
       defendants is indistinguishable (or even worse) than their
       conduct on January 6. Finally, they contend that the District
       Court’s determinations in support of detention were clearly
       erroneous.

                                      II.

             “In our society liberty is the norm, and detention prior to
       trial or without trial is the carefully limited exception.” United
       States v. Salerno, 481 U.S. 739, 755 (1987).

            The Bail Reform Act of 1984 authorizes one of those
       carefully limited exceptions by providing that the court “shall
       order” a defendant detained before trial if it “finds that no
       condition or combination of conditions will reasonably assure
       the appearance of the person as required and the safety of any
       other person and the community.” 18 U.S.C. § 3142(e). “In
       common parlance, the relevant inquiry is whether the
       defendant is a ‘flight risk’ or a ‘danger to the community.’”
       United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir.
       2019). Here, the District Court held that both Munchel and
       Eisenhart should be detained on the basis of dangerousness.

            In assessing whether pretrial detention is warranted for
       dangerousness, the district court considers four statutory
       factors: (1) “the nature and circumstances of the offense
       charged,” (2) “the weight of the evidence against the person,”
       (3) “the history and characteristics of the person,” and (4) “the
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       nature and seriousness of the danger to any person or the
       community that would be posed by the person’s release.” 18
       U.S.C. § 3142(g)(1)–(4). To justify detention on the basis of
       dangerousness, the government must prove by “clear and
       convincing evidence” that “no condition or combination of
       conditions will reasonably assure the safety of any other person
       and the community.” Id. § 3142(f). Thus, a defendant’s
       detention based on dangerousness accords with due process
       only insofar as the district court determines that the defendant’s
       history, characteristics, and alleged criminal conduct make
       clear that he or she poses a concrete, prospective threat to
       public safety.

            In Salerno, the Supreme Court rejected a challenge to this
       preventive detention scheme as repugnant to due process and
       the presumption of innocence, holding that “[w]hen the
       Government proves by clear and convincing evidence that an
       arrestee presents an identified and articulable threat to an
       individual or the community, we believe that, consistent with
       the Due Process Clause, a court may disable the arrestee from
       executing that threat.” 481 U.S. at 751 (emphasis added).

                                      III.

           We can readily dispatch with some of the appellants’
       arguments.

            First, we conclude that we need not reach appellants’
       contention that the District Court erred in not deferring to
       Magistrate Judge Frensley’s factual findings as to their
       dangerousness. The statute concerning review of a Magistrate
       Judge’s release order says nothing about the standard of the
       district court’s review, see 18 U.S.C. § 3145(a), and we have
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       not squarely decided the issue.3 We need not break new ground
       in this case, because as the appellants maintain in their briefing,
       Munchel Reply Mem. 8, n.3, the government submitted
       substantial additional evidence to the district judge that had not
       been presented to the Magistrate Judge, including the 50-
       minute iPhone video, a partial transcript of the video, and
       several videos from Capitol CCTV. 4 As a result, this was not
       an instance where the District Court made its dangerousness
       finding based on the same record as was before the Magistrate
       Judge. Here, the situation was more akin to a new hearing, and
       as such, the issue before the District Court was not really
       whether to defer (or not) to a finding made by the Magistrate
       Judge on the same evidentiary record. Thus, we conclude that
       the issue complained of by appellants is not squarely before us
       in this appeal and we see no need to reach it.

            Second, we reject the argument that the District Court
       inappropriately relied on a finding that appellants were unlikely
       to abide by release conditions to detain them, because that
       factor is applicable only to revocation of pretrial release. The

       3 This court stated long ago, in dictum, in a case arising under the

       predecessor Bail Reform Act that district courts review such prior
       determinations with “broad discretion.” Wood v. United States, 391
       F.2d 981, 984 (D.C. Cir. 1968) (“Evaluating the competing
       considerations is a task for the commissioner or judge in the first
       instance, and then the judges of the District Court (where they have
       original jurisdiction over the offense) have a broad discretion to
       amend the conditions imposed, or to grant release outright, if they
       feel that the balance has been improperly struck.”).
       4 Below, the government contended that the 50-minute iPhone video

       was presented to the Magistrate Judge in Eisenhart’s detention
       hearing. ECF No. 41 at 2 & n.2. However, it does not dispute the
       appellants’ claim that the partial transcript of the video and the
       videos from Capitol CCTV were not presented to the Magistrate
       Judge.
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       District Court’s finding as to appellants’ potential compliance
       is relevant to the ultimate determination of “whether there are
       conditions of release that will reasonably assure . . . the safety
       of any other person and the community.” 18 U.S.C. § 3142(f)
       and (g). Indeed, other courts have found a defendant’s
       potential for compliance with release conditions relevant to the
       detention inquiry. See, e.g., United States v. Hir, 517 F.3d
       1081, 1092–93 (9th Cir. 2008) (explaining that release
       conditions require “good faith compliance” and that the
       circumstances of the charged offenses indicate “that there is an
       unacceptably high risk that [the defendant] would not comply.
       . . with the proposed conditions”); United States v. Tortora, 922
       F.2d 880, 886–90 (1st Cir. 1990). While failure to abide by
       release conditions is an explicit ground for revocation of
       release in 18 U.S.C. § 3148(b), it defies logic to suggest that a
       court cannot consider whether it believes the defendant will
       actually abide by its conditions when making the release
       determination in the first instance pursuant to 18 U.S.C. § 3142.

            Third, we reject Munchel and Eisenhart’s arguments that
       the charged offenses do not authorize detention. Under 18
       U.S.C. § 3142(f)(1)(E), detention is permitted if the case
       involves “any felony . . . that involves the possession or use of
       a . . . dangerous weapon.” (emphasis added). Two of the
       charges in the indictment meet this description: Count Two—
       entering a restricted building “with intent to impede and disrupt
       the orderly conduct of Government business . . . while armed
       with a dangerous weapon,” in violation of 18 U.S.C.
       § 1752(a)(1) and (a)(2) and 18 U.S.C. § 2 (aiding and abetting
       charge for Eisenhart); and Count Three—violent entry or
       disorderly conduct, again “while armed with a dangerous
       weapon,” in violation of 40 U.S.C. § 5104(e)(1) and (e)(2) and
       18 U.S.C. § 2. Indictment, ECF No. 21 at 2. The Bail Reform
       Act thus explicitly authorizes detention when a defendant is
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       charged with committing certain felonies while possessing a
       dangerous weapon, as is alleged in this indictment. 5

                                        IV.

            That leaves us with Munchel and Eisenhart’s final two
       arguments: (1) that the District Court’s determinations in
       support of detention were clearly erroneous; and (2) that
       several other defendants who participated in the insurrection
       have been released before trial, even though the conduct of
       those defendants is indistinguishable (or even worse) than their
       conduct on January 6. The first challenges the District Court’s
       finding that no condition or combination of conditions of
       release could reasonably assure the safety of the community
       while these appellants await trial. Appellants did not raise the

       5 Eisenhart’s argument that a taser is not a dangerous weapon—

       which Eisenhart raises for the first time in reply, and which Munchel
       seeks to adopt in his reply—is without merit. The relevant statute,
       40 U.S.C. § 5104(a)(2)(B), defines the term “dangerous weapon” to
       include “a device designed to expel or hurl a projectile capable of
       causing injury to individuals or property. . . .” While the record
       contains no evidence or proffer as to how Munchel’s taser operates,
       a taser is commonly understood as a device designed to expel a
       projectile capable of causing injury to individuals. See Cantu v. City
       of Dothan, 974 F.3d 1217, 1224–25 (11th Cir. 2020); Mattos v.
       Agarano, 661 F.3d 433, 443 (9th Cir. 2011) (“[A] taser uses
       compressed nitrogen to propel a pair of ‘probes’—aluminum darts
       tipped with stainless steel barbs connected to the taser by insulated
       wires—toward the target at a rate of over 160 feet per second. Upon
       striking a person, the taser delivers a 1200 volt, low ampere electrical
       charge. The electrical impulse instantly overrides the victim’s
       central nervous system, paralyzing the muscles throughout the body,
       rendering the target limp and helpless.” (internal alterations and
       quotation marks omitted)). Thus, at this stage, the evidence
       sufficiently demonstrates that Munchel’s taser is a dangerous
       weapon under the statute.
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       latter argument below, so we decline to pass on it in the first
       instance and without the benefit of full briefing.

                                     A.

             We review the District Court’s dangerousness
       determinations for clear error. United States v. Smith, 79 F.3d
       1208, 1209 (D.C. Cir. 1996); United States v. Simpkins, 826
       F.2d 94, 96 (D.C. Cir. 1987). “A finding is ‘clearly erroneous’
       when although there is evidence to support it, the reviewing
       court on the entire evidence is left with the definite and firm
       conviction that a mistake has been committed.” United States
       v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948); see also United
       States v. Celis, 608 F.3d 818, 843 (D.C. Cir. 2010). If, upon
       reviewing the record, it does not appear that the District Court
       considered substantial countervailing evidence that supported
       release when analyzing the detention factors, we sometimes
       remand for reconsideration rather than reverse. See United
       States v. Nwokoro, 651 F.3d 108, 110 (D.C. Cir. 2011)
       (remanding where the “district court [did not] demonstrate that
       it considered many of the facts apparent from the record before
       it”).

            In this case, the District Court found that because Munchel
       has limited criminal history and Eisenhart has none, their
       history and characteristics weighed against a finding that no
       conditions of release would protect the community. Munchel,
       2021 WL 620236, at *6, *8. However, the District Court found
       that the nature and circumstances of the charged offenses,
       weight of the evidence, and danger to the community factors
       all weighed in favor of finding that no conditions of release
       would protect the community. Id. at *5–7 (Munchel) 6, *7–8

       6 Although the government presented evidence that Munchel was in

       contact with a member of the Proud Boys after January 6 and was
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                                        16
       (Eisenhart). The crux of the District Court’s reasoning was that
       “the grand jury alleged that [the appellants] used force to
       subvert a democratic election and arrest the peaceful transfer
       of power. Such conduct threatens the republic itself. . . .
       Indeed, few offenses are more threatening to our way of life.”
       Id. at *5. Furthermore, because in media interviews Munchel
       showed no remorse and indicated that he would “undertake
       such actions again,” while Eisenhart stated that she would
       rather “fight” and “die” than “live under oppression,” the
       District Court found that both appellants were a danger to the
       republic and unlikely to abide by conditions of release. Id. at
       *6, *8 (quoting Pullman, supra). Nevertheless, we conclude
       that the District Court did not demonstrate that it adequately
       considered, in light of all the record evidence, whether
       Munchel and Eisenhart present an identified and articulable
       threat to the community. Accordingly, we remand for further
       factfinding. Cf. Nwokoro, 651 F.3d at 111–12.

                                        B.

            The crux of the constitutional justification for preventive
       detention under the Bail Reform Act is that “[w]hen the
       Government proves by clear and convincing evidence that an
       arrestee presents an identified and articulable threat to an
       individual or the community, . . . a court may disable the
       arrestee from executing that threat.” Salerno, 481 U.S. at 751.
       Therefore, to order a defendant preventatively detained, a court


       interested in joining the group, id. at *6, the District Court made no
       finding as to whether this evidence indicated that Munchel posed a
       danger to the community. It did, however, consider the evidence of
       Munchel’s contact with the Proud Boys in its analysis of Munchel’s
       history and characteristics, and determined that despite the evidence,
       Munchel’s history and characteristics weighed against detention. Id.
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       must identify an articulable threat posed by the defendant to an
       individual or the community. The threat need not be of
       physical violence, and may extend to “non-physical harms such
       as corrupting a union.” United States v. King, 849 F.2d 485,
       487 n.2 (11th Cir. 1988) (quoting S. REP. NO. 98–225, at 3
       (1984), as reprinted in 1984 U.S.C.C.A.N. 3182, 3195–96).
       But it must be clearly identified. See Salerno, 481 U.S. at 750
       (noting that the Act applies in “narrow circumstances” where
       “the Government musters convincing proof that the arrestee,
       already indicted or held to answer for a serious crime, presents
       a demonstrable danger to the community”); cf. Tortora, 922
       F.2d at 894 (Breyer, C.J., concurring) (reversing an order of
       release where the district court failed to “carefully analyze[] the
       danger [the defendant] posed”). Detention cannot be based on
       a finding that the defendant is unlikely to comply with
       conditions of release absent the requisite finding of
       dangerousness or risk of flight; otherwise the scope of
       detention would extend beyond the limits set by Congress. As
       we observed of the Bail Reform Act of 1966, “[t]he law
       requires reasonable assurance[,] but does not demand absolute
       certainty” that a defendant will comply with release conditions
       because a stricter regime “would be only a disguised way of
       compelling commitment in advance of judgment.” United
       States v. Alston, 420 F.2d 176, 178 (D.C. Cir. 1969).

            The threat must also be considered in context. See
       Tortora, 922 F.2d at 888 (“Detention determinations must be
       made individually and, in the final analysis, must be based on
       the evidence which is before the court regarding the particular
       defendant. The inquiry is factbound.” (internal citations
       omitted)). It follows that whether a defendant poses a
       particular threat depends on the nature of the threat identified
       and the resources and capabilities of the defendant. Cf.
       Nwokoro, 651 F.3d at 110–11 (noting that evidence “favoring
       appellant’s pretrial release” included the fact that appellant had
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                                     18
       no assets under his control, no ability to flee the country, and
       “no prior criminal record”). Whether the defendant poses a
       threat of dealing drugs, for instance, may depend on the
       defendant’s past experience dealing, see, e.g., United States v.
       Briggs, 697 F.3d 98, 102 (2d Cir. 2012), and her means of
       continuing to do so in the future, see, e.g., United States v.
       Henry, 172 F.3d 921 (D.C. Cir. 1999) (unpublished).

            Here, the District Court did not adequately demonstrate
       that it considered whether Munchel and Eisenhart posed an
       articulable threat to the community in view of their conduct on
       January 6, and the particular circumstances of January 6. The
       District Court based its dangerousness determination on a
       finding that “Munchel’s alleged conduct indicates that he is
       willing to use force to promote his political ends,” and that
       “[s]uch conduct poses a clear risk to the community.”
       Munchel, 2021 WL 620236, at *6.                In making this
       determination, however, the Court did not explain how it
       reached that conclusion notwithstanding the countervailing
       finding that “the record contains no evidence indicating that,
       while inside the Capitol, Munchel or Eisenhart vandalized any
       property or physically harmed any person,” id. at *3, and the
       absence of any record evidence that either Munchel or
       Eisenhart committed any violence on January 6. That Munchel
       and Eisenhart assaulted no one on January 6; that they did not
       enter the Capitol by force; and that they vandalized no property
       are all factors that weigh against a finding that either pose a
       threat of “using force to promote [their] political ends,” and
       that the District Court should consider on remand. If, in light
       of the lack of evidence that Munchel or Eisenhart committed
       violence on January 6, the District Court finds that they do not
       in fact pose a threat of committing violence in the future, the
       District Court should consider this finding in making its
       dangerousness determination. In our view, those who actually
       assaulted police officers and broke through windows, doors,
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                                      19
       and barricades, and those who aided, conspired with, planned,
       or coordinated such actions, are in a different category of
       dangerousness than those who cheered on the violence or
       entered the Capitol after others cleared the way. See Simpkins,
       826 F.2d at 96 (“[W]here the future misconduct that is
       anticipated concerns violent criminal activity, no issue arises
       concerning the outer limits of the meaning of ‘danger to the
       community,’ an issue that would otherwise require a legal
       interpretation of the applicable standard.” (internal quotation
       and alteration omitted)). And while the District Court stated
       that it was not satisfied that either appellant would comply with
       release conditions, that finding, as noted above, does not
       obviate a proper dangerousness determination to justify
       detention.

            The District Court also failed to demonstrate that it
       considered the specific circumstances that made it possible, on
       January 6, for Munchel and Eisenhart to threaten the peaceful
       transfer of power. The appellants had a unique opportunity to
       obstruct democracy on January 6 because of the electoral
       college vote tally taking place that day, and the concurrently
       scheduled rallies and protests. Thus, Munchel and Eisenhart
       were able to attempt to obstruct the electoral college vote by
       entering the Capitol together with a large group of people who
       had gathered at the Capitol in protest that day. Because
       Munchel and Eisenhart did not vandalize any property or
       commit violence, the presence of the group was critical to their
       ability to obstruct the vote and to cause danger to the
       community. Without it, Munchel and Eisenhart—two
       individuals who did not engage in any violence and who were
       not involved in planning or coordinating the activities—
       seemingly would have posed little threat. The District Court
       found that appellants were a danger to “act against Congress”
       in the future, but there was no explanation of how the
       appellants would be capable of doing so now that the specific
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       circumstances of January 6 have passed. This, too, is a factor
       that the District Court should consider on remand.

                                       C.

            Finally, Munchel and Eisenhart argue that the
       government’s proffer of dangerousness should be weighed
       against the fact that the government did not seek detention of
       defendants who admitted they pushed through the police
       barricades and defendants charged with punching officers,
       breaking windows, discharging tasers at officers, and with
       planning and fundraising for the riot. See Munchel Reply
       Mem. at 9–12. Appellants did not raise this claim before the
       District Court and the government did not substantively
       respond to it on appeal because Appellants raised it for the first
       time in Munchel’s reply. Whatever potential persuasiveness
       the government’s failure to seek detention in another case
       carries in the abstract, every such decision by the government
       is highly dependent on the specific facts and circumstances of
       each case, which are not fully before us. In addition, those facts
       and circumstances are best evaluated by the District Court in
       the first instance, and it should do so should appellants raise the
       issue upon remand.

                                       ****

            It cannot be gainsaid that the violent breach of the Capitol
       on January 6 was a grave danger to our democracy, and that
       those who participated could rightly be subject to detention to
       safeguard the community. Cf. Salerno, 481 U.S. at 748 (“[I]n
       times of war or insurrection, when society’s interest is at its
       peak, the Government may detain individuals whom the
       government believes to be dangerous.” (citations omitted)).
       But we have a grave constitutional obligation to ensure that the
       facts and circumstances of each case warrant this exceptional
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                                    21
       treatment. Accordingly, we conclude that the appropriate
       resolution of this case is to remand the detention orders for
       reconsideration forthwith of the government’s oral motion for
       pretrial detention.

                                                        So ordered.
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            KATSAS, Circuit Judge, concurring in part and dissenting
       in part: These appeals present the question whether Eric
       Munchel and his mother, Lisa Eisenhart, may be detained
       pending trial for their participation in the riot at the United
       States Capitol on January 6, 2021. The answer to that question
       does not turn on any generalized, backward-looking
       assessment of the rioters or the riot, as the district court
       erroneously suggested. Instead, it turns on a specific, forward-
       looking assessment of whether Munchel and Eisenhart as
       individuals currently pose an unmitigable threat to public
       safety. My colleagues and I agree on this critical point about
       the governing legal standard in these appeals. We also agree
       that the district court failed to justify the detention of Munchel
       and Eisenhart on the record before it. But whereas my
       colleagues remand for a do-over, I would reverse outright. 1

            The Bail Reform Act permits pretrial detention in only
       “carefully defined circumstances.” United States v. Simpkins,
       826 F.2d 94, 95–96 (D.C. Cir. 1987). To support detention, a
       court must find that “no condition or combination of conditions
       will reasonably assure the appearance of the person as required
       and the safety of any other person and the community.” 18
       U.S.C. § 3142(e)(1). In assessing public safety and flight risk,
       courts must consider four factors: (1) “the nature and
       circumstances of the offense charged,” (2) “the weight of the
       evidence against the person,” (3) “the history and
       characteristics of the person,” and (4) “the nature and
       seriousness of the danger to any person or the community that
       would be posed by the person’s release.” Id. § 3142(g). For the

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              I join parts I to III of the Court’s opinion. I also agree with
       much of the legal analysis in part IV, including the proposition that
       those who assaulted police officers or forcibly breached Capitol
       security on January 6 “are in a different category of dangerousness”
       than those who, like Munchel and Eisenhart, only “cheered on” the
       disruption and “entered the Capitol after others cleared the way.”
       Ante at 18–19.
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                                       2
       public-safety determination, the government must prove all
       relevant facts “by clear and convincing evidence,” id.
       § 3142(f)(2), and we review all relevant findings for clear error,
       United States v. Smith, 79 F.3d 1208, 1209 (D.C. Cir. 1996).

            In this case, a magistrate judge concluded that neither
       Munchel nor Eisenhart is a flight risk and that neither would
       pose a safety risk if subjected to conditions including home
       detention, GPS monitoring, a ban on possessing firearms, a ban
       on travel to Washington, D.C, and supervision by the U.S.
       Pretrial and Probation Services System. Munchel Mag. Tr. at
       177, 181, 185–89; Eisenhart Mag. Tr. at 152, 163, 164–66. The
       district court agreed that Munchel and Eisenhart do not present
       a flight risk, but found that no combination of release
       conditions would reasonably ensure public safety. United
       States v. Munchel, No. 1:21-CR-118-RCL, 2021 WL 620236,
       at *1, *5, *7 (D.D.C. Feb. 17, 2021). The court found that all
       but one of the subsidiary statutory factors weigh in favor of
       detention. Id. at *5–8.

            In my view, the district court clearly erred in finding that
       the government satisfied its burden to prove an unmitigable
       threat to public safety by clear and convincing evidence. The
       court’s errors infected both its assessment of the individual
       factors and its ultimate determination that Munchel and
       Eisenhart must be detained.

            The first factor looks to both the “nature” and
       “circumstances” of the “charged” offense: “the former refers to
       the generic offense while the latter encompasses the manner in
       which the defendant committed it.” United States v. Singleton,
       182 F.3d 7, 12 (D.C. Cir. 1999). Munchel and Eisenhart have
       been charged with obstructing an official proceeding, see 18
       U.S.C. § 1512(c)(2); entering a restricted building unlawfully
       or with the intent to impede government business, see id.
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       § 1752(a)(1)–(2), (b); carrying a dangerous weapon on the
       Capitol grounds, see 40 U.S.C. § 5104(e)(1); and entering the
       Capitol with the intent to disrupt official business, see id.
       § 5104(e)(2). The district court described the charged offenses
       as “grave,” asserted that “few offenses are more threatening to
       our way of life,” and quoted at length from George
       Washington’s Farewell Address. Munchel, 2021 WL 620236,
       at *5–7. But none of the charged offenses is a Class A or Class
       B felony, see 18 U.S.C. § 3559(a), none carries a mandatory
       minimum sentence, and none gives rise to a rebuttable
       presumption of detention.

            The district court was primarily concerned with how
       Munchel and Eisenhart committed their offenses. In addition
       to the descriptions noted above, the court asserted that their
       conduct showed “a flagrant disregard for the rule of law”—and
       indeed “threatens the republic itself.” Munchel, 2021 WL
       620236, at *5–6. The court described Munchel as “willing to
       use force to promote his political ends” and as “[s]torming the
       Capitol to disrupt the counting of electoral votes.” Id. at *6.
       Further, it found that Munchel’s entering the Capitol “carried
       great potential for violence” because he was “armed with a
       taser,” “carried plastic handcuffs,” and “threatened to ‘break’
       anyone who vandalized the Capitol.” Id. But as the court itself
       acknowledged, “[t]he record contains no evidence indicating
       that, while inside the Capitol, Munchel or Eisenhart vandalized
       any property or physically harmed any person.” Id. at *3.

           A video recorded by Munchel—documenting what he and
       his mother did on January 6—confirms the more benign
       assessment. The video shows the following: Munchel and
       Eisenhart did not organize the election protest or the ensuing
       march to the Capitol, hatched no advance plan to enter the
       Capitol, and acted in concert with no other protestors. Nor did
       they assault any police officers or remove any barricades in
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       order to breach Capitol security. They decided to enter the
       Capitol only after others had already done so forcibly. By the
       time they made their way to the building, police were making
       no attempt to stop or even discourage protestors from entering.
       To go inside, Munchel and Eisenhart walked through an open
       door. While there, they attempted neither violence nor
       vandalism. They searched for no Members of Congress, and
       they harassed no police officers. They found plastic handcuffs
       by chance, but never threatened to use them. Munchel’s threat
       to “break” anyone who vandalized the Capitol was intended to
       prevent destruction and was addressed to no one in particular.
       See Munchel iPhone Video at 43:41. For ten to twelve minutes,
       Munchel and Eisenhart wandered the halls of the Capitol, with
       Eisenhart leading the way and Munchel asking his mother what
       her plan was. At one point, they entered the Senate gallery. At
       another, as they entered what appears to be a hallway of offices,
       Munchel told his mother that “[w]e don’t want to get stuck in
       here, this is not a place for us,” which caused her to turn around.
       Id. at 42:11–14. Munchel and Eisenhart voluntarily left the
       building—while many other protestors remained and before
       the police began to restore order. Their misconduct was
       serious, but it hardly threatened to topple the Republic. Nor,
       for that matter, did it reveal an unmitigable propensity for
       future violence.

            Turning to the second factor, the district court found that
       the “weight of the evidence” supported pretrial detention.
       Munchel, 2021 WL 620236, at *6, *8. The video in this case
       documents exactly what Munchel and Eisenhart did inside the
       Capitol. It forecloses any contention that pretrial detention is
       inappropriate because of uncertainty about whether the alleged
       conduct occurred. But as explained above, the conduct does
       not show that Munchel and Eisenhart pose an unmitigable
       future threat to public safety. The second factor thus moves the
       needle neither one way nor the other.
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            The district court next found that the defendants’ “history
       and characteristics” do not support detention. See Munchel,
       2021 WL 620236, at *6, *8. The government fails to challenge
       that finding—and for good reason. Munchel maintained
       employment until his arrest, has no history of violence, has no
       prior felony convictions, and is not a member of any anti-
       government or militia group. He has two prior misdemeanor
       convictions for possession of marijuana, which are both more
       than five years old, and there was no proof that he has ever
       failed to comply with any probation conditions imposed as a
       result. Munchel Mag. Tr. at 174–75. Eisenhart is 57 years old,
       has been a nurse for three decades, and has no criminal history.
       Both appellants voluntarily surrendered to the FBI. Munchel
       took affirmative steps to preserve the evidence in his cellphone
       and arranged to provide it to the government. Id. at 176.
       Before her arrest warrant had even issued, Eisenhart
       established daily contact with the FBI so that she could turn
       herself in as soon as it did. Eisenhart Mag. Tr. at 152. The
       third factor thus cuts strongly in favor of release.

            In evaluating the “nature and seriousness” of any danger,
       the district court highlighted statements that Munchel and
       Eisenhart made to the media on January 7. Munchel said that
       “[t]he point of getting inside the building is to show them that
       we can, and we will,” Munchel, 2021 WL 620236, at *6, while
       Eisenhart, invoking the American Revolution, said that she
       would “rather die and would rather fight” than “live under
       oppression,” id. at *8. To the district court, these statements
       indicated that the defendants pose “a clear danger to our
       republic” and that Eisenhart is a “would-be martyr.” Id. at *6,
       *8. But the defendants’ actual conduct belied their rhetorical
       bravado. During the chaos of the Capitol riot, Munchel and
       Eisenhart had ample opportunity to fight, yet neither of them
       did. Munchel lawfully possessed several firearms in his home,
       but he took none into the Capitol. Munchel Mag. Tr. at 179,
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       182. Indeed, before entering the Capitol, Munchel and
       Eisenhart stashed a knife inside a backpack that they left
       outside, precisely for fear of ending up in “federal prison.” See
       Munchel, 2021 WL 620236, at *2.

            Moreover, even if their comments indicate some
       willingness to engage in future protests or disruption, the Bail
       Reform Act permits detention only to prevent an “identified
       and articulable threat to an individual or the community.”
       United States v. Salerno, 481 U.S. 739, 751 (1987). Here, the
       district court identified one such threat—that Munchel and
       Eisenhart would attempt “to stop or delay the peaceful transfer
       of power.” Munchel, 2021 WL 620236, at *6, *8. But the
       transition has come and gone, and that threat has long passed.
       In the district court, the government warned of an upcoming
       protest scheduled for March 4. But that protest never
       materialized, and the government produced no evidence that
       Munchel and Eisenhart had been involved in its planning
       before their arrest. The government’s gesturing towards the
       possibility of their joining future protests falls well short of any
       “identified and articulable threat.” Salerno, 481 U.S. at 751.

           After evaluating the four statutory factors, the district court
       turned to the ultimate question in the case—whether no release
       conditions would reasonably ensure public safety. The court
       worried that a “determined defendant” could “cut off an ankle
       monitor, ignore travel restrictions, elude a third-party
       custodian, unlawfully rearm, and endanger his community.”
       Munchel, 2021 WL 620236, at *7. The court found that
       Munchel was such a defendant given his “brazen actions in
       front of hundreds of law enforcement officers” and his media
       comments. Id. It found that Eisenhart also qualified, because
       of her supposed “willingness to die for her cause.” Id. at *8.
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                                       7
            Yet the record shows otherwise. As explained above,
       Munchel and Eisenhart chose to trespass—not to engage in
       violence, much less fight to the death. Afterwards, both
       voluntarily surrendered to the FBI, as the district court
       recognized in concluding that neither posed a flight risk. See
       Munchel, 2021 WL 620236, at *5, *7. Munchel preserved and
       voluntarily turned over his cellphone video. Munchel Mag. Tr.
       at 176. Likewise, even after he was identified as a suspect,
       Munchel made no attempt to hide or remove the firearms that
       he lawfully possessed at his home. Id. at 181–82. As for the
       defendants’ attitudes towards law enforcement, the video
       shows that police did not seek to discourage their entry into the
       Capitol through an open door, Munchel iPhone Video at 38:48;
       Munchel and Eisenhart made no attempt to harass officers
       while inside the Capitol; and, as they were preparing to exit,
       Munchel encountered an officer and said “Sorry, guys, I still
       love you,” id. at 49:26. Finally, contrary to the district court’s
       characterization of Eisenhart as a “would-be martyr,” she
       specifically declined to bring a knife into the Capitol because
       of her expressed concerns with “federal prison.” See Munchel,
       2021 WL 620236, at *2. The defendants’ other personal
       characteristics—which the district court acknowledged to
       weigh in favor of release—further indicate that they are likely
       to comply with release conditions.

            In this case, the magistrate judge imposed strict release
       conditions. For Munchel, he required confinement at the home
       of a third-party custodian, GPS location monitoring,
       supervision by Pretrial Services, no possession of firearms, no
       travel to D.C., no excessive use of alcohol, no possession or
       use of any controlled substance, and drug testing if ordered by
       Pretrial Services. Munchel Mag. Tr. at 185–89. For Eisenhart
       he required home confinement, location monitoring,
       supervision by a third-party custodian, no possession of
       firearms, no travel to D.C., and submission to psychiatric
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       treatment if ordered by Pretrial Services. Eisenhart Mag. Tr. at
       164–66. The district court gave no plausible explanation for
       why these stringent conditions would not reasonably ensure
       public safety.

             Of course, we review dangerousness findings only for
       clear error, Smith, 79 F.3d at 1209, which requires affirmance
       if a district court’s “account of the evidence is plausible in light
       of the record viewed in its entirety,” Anderson v. City of
       Bessemer City, 470 U.S. 564, 573–74 (1985). But while the
       standard of review here is favorable to the government, both
       substantive law and the standard of proof favor the defendants.
       The Bail Reform Act requires a showing that “no condition or
       combination of conditions” would even “reasonably assure”
       the safety of individuals or the community. 18 U.S.C.
       § 3142(e)(1). And it requires this showing to be made by “clear
       and convincing evidence,” id. § 3142(f)(2)—a heightened
       standard of proof under which the fact finder must “give the
       benefit of the doubt to the defendant,” United States v.
       Montague, 40 F.3d 1251, 1255 (D.C. Cir. 1994); see Addington
       v. Texas, 441 U.S. 418, 424 (1979). Putting it all together,
       because the record strongly suggests that Munchel and
       Eisenhart would present no safety risk if subjected to strict
       release conditions, the district court clearly erred in finding that
       the government had proved its case by clear and convincing
       evidence.

            “In our society liberty is the norm, and detention prior to
       trial or without trial is the carefully limited exception.”
       Salerno, 481 U.S. at 755. Because the district court clearly
       erred here, I would reverse its detention order and remand for
       the setting of appropriate release conditions.
